                       Case 3:14-cr-00173-WWE Document 1 Filed 02/21/14 Page 1 of 1




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                                                                     for the
                                                            District of Connecticut

                      United States of America                          )
                                    v.                                  )
                                                                        )
                                                                        )
                                                                               Cas,   No. 3 · 1'-; h"1J 0 I                                 7 ( wiG-)
             Reina Rentas Estevez, a.k.a . Zaida Vargas
                                                                        )
                                                                        )
                                                                        )
                               Defendall/(s)


                                                       CRIMINAL COMPLAINT
               I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
    On or about the date(s) of ___                 March 14, 2008        _     in the county of                   Fairfield                 _ __ in the
                             District of          Connecticut       , the defendant(s) violated:

                 Cude Section                                                     Offense Description
     18 U.S.C. Section 1542                          false statement in an application for a United States passport




               This criminal complaint is based on these facts:
     See Attached Affidavit of Special Agent Jaran Starks, dated February 1 g, 2014.

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               ~ Continued on the attached shee l.

                                                                                                      .    ~ --
                                                                                                   Ir.llil/J/dill IIII 's signature

                                                                                       Jaran Starks, SA, U.S. Dept.of State, DSS
                                                                                                    Printed name and title
                                                                                                                                                 ---
     Sworn to before me and signed in my presence.


     Date:      .1: .( I ~   ~ 201 £1      _                                          lSI William I Garfinkel U('MJ
                                                                                                                  I         ,        ....
                                                                                                       Judge    ·S S'gll   '''lrt:

     City and state'                           Bridgeport, CT                          William I Garfinkel, U.S. Magistrate Judge
                                                                                                    Printed name and title
